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IN THE UNITED STATES DISTRICT COURT n \ d<.ad, \
FOR THE WESTERN DISTRICT OF TENNESSEE ;<?£;/5' /¢ 0

EASTERN DrvIsIoN “’5?5§§ "/.-/

CATHY D. CASEY,

Plaintiff,

VS. No. 05*1043-"f/An

J. R. WAUFORD & COMPANY
CONSULTING ENGINEERS, INC.,
a Tennessee Corporation,

\_/\_/\.,/\../\_/\-§_/\../\._/\_/\_/\_/\._./\_/

Defendant.

 

ORDER TO SHOW CAUSE

 

The plaintiff, Cathy D. Casey, filed this action on February 17, 2005 against J. R.
Wauford & Company Consulting Engineers, Inc. Process was issued by the Clerk of Court
on that date. Pursuant to F ederal Rule of Civil Procedure 4(m), service of process ordinarily
must be made on the defendant within 120 days after the complaint is filed:

Time Limit for Service. If service ofthe summons and complaint is not
made upon a defendant within 120 days after the filing of the complaint, the
court, upon motion or on its own initiative after notice to the plaintiff, shall
dismiss the action without prejudice as to that defendant or direct that service
be effected within a specified time; provided that if the plaintiff shows good
cause for the failure, the court shall extend the time for Service for an
appropriate period. . . .

This document entered on the dockets gg£%f:om llance
with sure sa and:or_?s (a) FncP on 5 9

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As of the date of this order, the record contains no proof that plaintiff has obtained
service on the defendant Therefore, plaintiff is hereby ORDERED to show cause Within
15 days after the entry of this order why this case should not be dismissed under Fed. R. Civ.
P. 4(m).

IT lS SO ORDERED.

QWMZ)\M

JAME D. TODD
UNIT D STATES DISTRICT JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 2 in
case 1:05-CV-01043 was distributed by faX, mail, or direct printing on
July 29, 2005 to the parties listed.

 

 

Bradley G. Kirk

CARTER STANFILL & KIRK
25 Natchez Trace Dr.
LeXington, TN 38351

Honorable J ames Todd
US DISTRICT COURT

